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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO

GLORIA TANKESLY,
personal representative of
the estate of James Tankesly, deceased,

               Plaintiff,

v.                                                         No. 2:18-cv-00996-SMV-KRS

J.C. PENNEY CORPORATION, INC.

               Defendant.


                               INITIAL SCHEDULING ORDER

       This case is before the Court for scheduling, case management, discovery, and other non-

dispositive matters. The Federal Rules of Civil Procedure, as amended, as well as the Local

Rules of the Court, will apply to this lawsuit.

       The parties, appearing through counsel or pro se, shall “meet and confer” no later than

January 2, 2019 to formulate a provisional discovery plan. See Fed. R. Civ. P. 26(f). As part

of this process, the parties are reminded that Federal Rule of Civil Procedure 26(f) requires

them to exchange views on the “disclosure, discovery, or preservation of electronically

stored information, including the form or forms in which it should be produced.” The

parties have an attendant duty to preserve all electronically stored information that may be

discoverable in this case.

       The time allowed for discovery is generally 120 to 180 days. The parties will cooperate in

preparing a Joint Status Report and Provisional Discovery Plan (“JSR”) that follows the sample




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available on the Court’s website. 1 The blanks for suggested/proposed dates in the JSR are to be

filled in by the parties. Actual dates will be promulgated by order of the Court to be entered after

the Rule 16 scheduling conference scheduled pursuant to this order.                 Plaintiff, or Defendant in

cases which have been removed from State District Court, is responsible for filing the JSR by

January 9, 2019.

         Initial disclosures by a party pursuant to Federal Rule of Civil Procedure 26(a)(1)

shall be made within fourteen days after the meet-and-confer session.

         A telephonic Rule 16 scheduling conference will be conducted on January 16, 2019 at

2:00 p.m. 2 Counsel and parties pro se shall call (888) 398-2342 and enter access code 8193818

to be connected to the telephonic Rule 16 scheduling conference. At the Rule 16 scheduling

conference, counsel and parties pro se should be prepared to discuss discovery needs and

scheduling, all claims and defenses, the use of scientific evidence, whether a Daubert 3 hearing is

necessary, initial disclosures, and the time of expert disclosures and reports under Federal Rule

of Civil Procedure 26(a)(2). The Court, counsel and parties pro se will also discuss settlement

prospects and alternative dispute resolution possibilities. In addition, the scheduling conference

participants will address consideration of consent by the parties to a United States Magistrate

Judge presiding over dispositive proceedings, including motions and trial, pursuant to 28 U.S.C.

§ 636(c). Parties represented by counsel may, but are not required to, attend the telephonic

scheduling conference.



1
  Pursuant to Administrative Order No. 06-173, the JSR replaces and supersedes the Provisional Discovery Plan and
the Initial Pretrial Report, effective January 2, 2007. The standardized Joint Status Report and Provisional
Discovery Plan is available at www.nmd.uscourts.gov/forms from the drop-down menu.
2
  If counsel or parties wish to appear in person at the scheduling conference, please advise the undersigned’s
chambers at least 48 hours prior to the scheduling conference. If counsel or parties are going to appear in person at
the scheduling conference, you will appear at the United States District Courthouse, Picacho Courtroom, Room 480,
4th floor, 100 N. Church Street, Las Cruces New Mexico, unless otherwise noted on the court docket.
3
  Daubert v. Merrell Dow Pharmaceuticals, 509 U.S. 579 (1993).

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        If service on all parties is not complete, Plaintiff(s) appearing through counsel or pro se

is/are responsible for notifying all parties of the content of this order.

        Good cause must be shown and the express written approval obtained from the Court for

any modifications of the dates in the scheduling order that issues from the JSR.

        Pretrial practice in this case shall be in accordance with the above.

        IT IS SO ORDERED.



                                                _____________________________________
                                                KEVIN R. SWEAZEA
                                                UNITED STATES MAGISTRATE JUDGE




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